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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                 CRIMINAL ACTION


v.                                                       NO. 20-55


JASON WILLIAMS AND NICOLE BURDETT                        SECTION “F”



                                    ORDER


      Before the Court are two motions:       (1) the defendants’ motion

to dismiss indictment and stay proceedings due to jury selection

violations, which is presently set for hearing on March 31, 2021;

and (2) the Clerk of Court’s motion to intervene or proceed as

amicus curiae, which is presently set for hearing on March 3, 2021.

For the reasons that follow, the hearing on the defendants’ motion

to dismiss is hereby continued, and the Clerk of Court’s motion is

DENIED without prejudice.

      In the motion to dismiss indictment, Jason Williams and Nicole

Burdett adopt another defendant’s challenge to this District’s

jury selection plan; 1 the issues and arguments advanced by the



1 They did so within three days of learning about the pending
challenge to the District’s jury selection plan. 28 U.S.C. § 1867
mandates that a defendant file a motion to dismiss the indictment
or stay proceedings within seven days of discovery of the grounds
                                     1
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defendants are being litigated in other Sections of Court, foremost

before Judge Ashe in Criminal Action Number 16-32, United States

v. Age, et al.        Mr. Williams and Ms. Burdett reasonably suggest

that the Court defer ruling on their motion to dismiss until Judge

Ashe resolves whether the jury selection plan complies with the

Jury Selection and Service Act of 1968 and the U.S. Constitution.

Judge Ashe has scheduled a May 27th hearing on Mr. Age’s motion to

quash the indictment and stay proceedings.

     There is no dispute that the facts predicating the defendants’

motion will be fully developed before Judge Ashe.                  The defendants,

the government, and the Clerk of Court appear to agree that this

Court’s resolution of the motion to dismiss can and should await

development and resolution of identical issues pending before

Judge Ashe.     For this reason, a continuance of the hearing on the

defendants’ motion to dismiss is warranted.

     In   the    meantime,     the   Court    need     not       duplicate   efforts

undertaken in other proceedings.             As for the Clerk of Court’s

motion seeking intervention or to proceed as amicus curiae, the

defendants      and   the     government     oppose        the    specific    relief

requested.       To   be    sure,   intervention      in    a    criminal    case   is

extraordinary and permissible only in limited circumstances not




of “substantial failure to comply with the provisions of this title
in selecting the grand or petit jury.”
                                        2
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presented here.      Counsel for the Clerk’s Office concedes as much

in   its   reply   paper,   retreating   from   its   request   for   formal

intervention in favor of a more limited request seeking (advance)

leave to “submi[t] factual data regarding the jury summoning

process”; 2 that is, the Clerk’s Office seeks permission to submit

to the Court “in whatever format the Court deems appropriate”

statistical data relevant to the pending motion to dismiss. 3

      IT IS ORDERED: that the Clerk’s motion seeking intervention

or to proceed as amicus curiae is hereby DENIED without prejudice

to a future request at the appropriate time seeking leave to submit

a report or papers and statistical data relevant to the defendants’

motion to dismiss.

      IT IS FURTHER ORDERED: that the hearing on the defendants’

motion to dismiss is hereby continued to June 23, 2021, on the

papers, unless otherwise ordered.

                        New Orleans, Louisiana, March 2, 2021


                                   ______________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE


2  Apparently, the government does not plan to challenge the
statistical data presented by the defendants in support of motions
to dismiss and, therefore, the Clerk’s Office seeks to participate
in limited fashion to submit statistical data associated with the
challenged jury selection process.
3 The Clerk of Court has identified no obstruction to filing either

the motion to intervene or the motion seeking leave to file reply
in this matter.
                                     3
